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March 8, 2019                                                                         Karin Dryhurst
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Via ECF

Judge Thomas I. Vanaskie
JAMS, Inc.
1717 Arch Street, Suite 3810
Philadelphia, PA 19103

     Re: CFPB’s February 26 Letter Regarding Redacted Documents

Dear Judge Vanaskie:

       This letter responds to the CFPB’s February 26 letter regarding a log for documents that
were produced, but which contain clearly marked redactions.

    1. The CFPB claims that “Defendants did not notify the Bureau (through their existing log
or by any other means) that they had not logged” redacted documents. The CFPB further asserts
that “this issue was one that the Bureau discovered the [] weekend [of January 26-27, 2019.]”
Neither of these statements is correct. The CFPB has known, since at least May 9, 2018, that
Defendants were preparing a log for withheld documents, but not for documents produced with
partial redactions.

          The first log produced ten months ago, on May 9, 2018, stated that it described
           “documents that Defendants have withheld from production.” Every log submitted
           by Defendants after that date contained the same language.
          The CFPB has had redacted documents in its possession for months and has used
           them at depositions. See, e.g., Ex. 1, NAV-00139024.
          There have been a number of conversations with the CFPB about this issue, including
           during a meet and confer on September 27, 2018 during which Defendants explained
           that they logged withheld documents and produced redacted documents.

    2. Defendants followed the practice for production of redacted documents set forth in the
Discovery Order. “If a claim of privilege applie[d] to only a portion of a document, the
document [was] produced, and the portion claimed to be privileged obscured and stamped
‘redacted.’” Doc. 66-2, at ¶ 7. Because the CFPB has the documents, the CFPB has for each
document the date, author, sender, addressee, recipient, custodian, Bates number, and general
subject matter of the document. The CFPB therefore is not missing any substantive information
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regarding Defendants’ privilege and work product assertions for these documents. For example,
the redacted exhibit that the CFPB used at a deposition (Ex. 1, discussed above) is a 108-page
Power Point Presentation that contains five partially redacted pages. 1 The following is evident
from the face of the document: the date of the presentation, the title/subject is “Litigation
Update,” the presenter was Navient’s Deputy General Counsel, and it says at the bottom of the
page “Confidential – Attorney Client Privilege.” The CFPB’s assertion that, without a log, it
“cannot begin to assess whether the redactions are appropriate” (Doc. 236) is therefore incorrect.

       3.      Creating a log from the information already produced would serve no purpose,
which is why it is standard practice to produce partially redacted documents rather than log them,
and why the CFPB’s decision not to object to this approach when this issue was previously
discussed seemed unremarkable.

        4.      After nearly two years of discovery, Defendants believe that the parties should be
focused on resolving disputes that are material, not seeking to impose make-work or re-litigating
issues discussed months ago. 2 In any event, to resolve the issue, Defendants will incur the time
and expense associated with providing in log form the privilege claimed, type of document, and
date, author, senders, addresses, recipients, custodians, and Bates number of the documents
identified by the CFPB. The general subject matter is apparent from the face of the document.
And as we told the CFPB, if there are questions about specific redacted documents, Defendants
are willing to meet and confer regarding those documents.

                                                            Respectfully submitted,

                                                            /s/Karin Dryhurst
                                                            Karin Dryhurst




1
  Defendants have attached additional examples to show their general approach to redactions.
See Exs. 2–8.
2
  Although the CFPB’s log for attorney-client and work product claims is deficient in many
ways, Defendants have not challenged it. The CFPB generally produced documents and
redacted all substantive text, leaving visible only items such as senders, recipients, and date—
frequently redacting even the subject line or file name. It then grouped all documents by subject
on a categorical log. As with the deliberative process entries, the descriptions supporting the
asserted privileges are exceedingly vague. See Doc. 134, at 48:22–49:4 (describing Categories 4,
5, 6, 10, and 34 as vague).
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             EXHIBIT 1
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             EXHIBIT 6
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